                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
                                             No. 1:24-CR- oo 1. 4 9
           V.
                                             (Judge   5p.fo'4!io      )
CHRISTOPHER STOVER,
                Defendant.


                              INDICTMENT                           FILED
                                                              HARRISBURG, PA
THE GRAND JURY CHARGES:
                                                                   SEP 18 2024
                              COUNT 1                      PER _ ~ J=~~~ - - - -
                          18 U.S.C. § 1708                         DEPUTY CLERK

                     (Possession of Stolen Mail)
     On or about February 25, 2023, in Cumberland County, Penn-

sylvania, within the Middle District of Pennsylvania, the defendant,

                       CHRISTOPHER STOVER,

did knowingly and unlawfully have in his possession mail which had

been stolen, taken, embezzled and ab stracted from a mail route,

knowing the said mail to have been stolen, taken, embezzled and ab-

stracted from a mail route.

     In violation of Title 18, United States Code, Section 1708.
THE GRAND JURY FURTHER CHARGES:

                            COUNTS 2-5
                           18 U.S.C. § 1709
                 (Theft of Mail by Postal Employee)
     From in or around 2020, the exact date being unknown to the

Grand Jury, through on or about February 25, 2023, in Cumberland

County, Pennsylvania, within the Middle District of Pennsylvania,

the defendant,

                      CHRISTOPHER STOVER,

a United States Postal Service employee, did knowingly and inten-

tionally embezzle mail which had been entrusted to the defendant and

had come into his possession intended to be conveyed by mail, to wit:

        Count    Sender Recipient      Recipient's Location
          2       D.P.    E.B.         Mechanicsburg, PA
          3       S.S.    J.J.         Mechanicsburg, PA
          4       D.O.    B.M.              York, PA
          5        N.     D.L.         Mechanicsburg, PA




                                  2
     In violation of Title 18, United States Code, Section 1 709.

                                       A TRUE BILL



GERARD M. KARAM
United States Attorney                 FOREPERSON


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